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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )                   8:05CR378
       vs.                                    )
                                              )       ORDER CONTINUING TRIAL
MARCO A. COVARRUBIAS,                         )
                                              )
                     Defendant.               )


      This matter is before the court on the government's consent motion to continue trial.
For good cause shown,

       IT IS ORDERED that the motion to continue trial (#50) is granted, as follows:

       1. Trial of this matter is continued from April 18, 2006 to May 9, 2006 before Judge
Laurie Smith Camp and a jury.

        2. The ends of justice will be served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. Any additional time arising as a
result of the granting of this motion, that is, the time between April 18, 2006 and May 9,
2006 , shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reasons stated in the motion, and considering the diligence
of counsel. The failure to grant additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(8)(A) & (B).

       DATED April 12, 2006.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
